               Case 1:17-cv-02191-LTS Document 84 Filed 11/05/20 Page 1 of 1



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 INTEGR8 FUELS INC.

                                            Plaintiff(s),           No. 17CV2191-LTS-DCF

                         -v-

 DAELIM CORPORATION

                                Defendant(s).
 ------------------------------------------------------------X




                                                            ORDER



            In light of the pending motion, the initial pretrial conference scheduled for November 20, 2020,

 is rescheduled to January 22, 2021, at 11:30 a.m. in Courtroom 17C.


            SO ORDERED.


 Dated: New York, New York
        November 5, 2020

                                                                     /s/ Laura Taylor Swain
                                                                    LAURA TAYLOR SWAIN
                                                                    United States District Judge




CV Order resched conf date pend mot 2.frm version 5/22/09
